       Case:17-60400-EJC Doc#:55 Filed:11/09/18 Entered:11/09/18 15:29:30                               Page:1 of 1


        IT IS ORDERED as set forth below:




        Date: November 9, 2018



_____________________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

  In re:                                                                          Case No.: 17−60400−EJC
  Linda F. Hill
         Debtor                                                                   Judge: Edward J. Coleman III
                                                                                  Chapter: 13

                                ORDER APPOINTING SPECIAL COUNSEL


     The Application of the Debtor, Linda F. Hill, for appointment of V. Sharon Edenfield as Special Counsel for the
  Debtor having been considered and it appearing to the Court that the employment of V. Sharon Edenfield is necessary
  and beneficial to this estate,

     It further appearing that the Attorney, V. Sharon Edenfield, has no adverse interest to those of this estate, and that
  the employment is proper,

     IT IS THEREFORE ORDERED that the Debtor is authorized to employ the services of V. Sharon Edenfield as
  Special Counsel for the Debtor subject to objection by any party in interest within twenty−one (21) days of the date
  hereof. The compensation of such Attorney will be later fixed and determined by the Court in such manner as the
  Court may from time to time direct after notice to creditors.
                                                   [END OF DOCUMENT]

  B−04e [07−14]
